Case 1:13-cr-10200-GAO Document 107-1 Filed 09/27/13 Page 1 of 11




                        EXHIBIT A
    Case
  Case    1:13-cr-10200-GAO Document
       9:06-cr-00062-DWM     Document123
                                      107-1 Filed
                                             Filed10/21/2008
                                                   09/27/13 Page 2 of1 11
                                                              Page     of 10




                   IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF MONTANA

                            MISSOULA DIVISION


UNITED STATES OF AMERICA,     )            CR 06-62-M-DWM
                              )
          Plaintiff,          )
                              )
     vs.                      )            ORDER
                              )
LINCOLN BENAVIDES, and        )
BRIAN WALTER WEBER,           )
                              )
          Defendant.          )
______________________________)

              I.    Introduction and Factual Background

     Lincoln Benavides and Brian Walter Weber were charged in a

fifteen-count Superceding Indictment on February 25, 2008.

Counts I and II of the Superceding Indictment charge Benavides

and Weber with non-capital offenses.           The remaining counts

charge capital crimes under the Anti-Drug Abuse Act of 1988

(codified at 21 U.S.C. § 848) and the Federal Death Penalty Act


                                     -1-
    Case
  Case    1:13-cr-10200-GAO Document
       9:06-cr-00062-DWM     Document123
                                      107-1 Filed
                                             Filed10/21/2008
                                                   09/27/13 Page 3 of2 11
                                                              Page     of 10



of 1994 (codified at 18 U.S.C. §§ 3591–3598) .

     The Defendants were appointed CJA Counsel on March 12, 2008.

The Court held a pretrial conference on May 9, 2008, in which the

government stated that the local United States Attorney’s Office

was prepared to hear the Defendants’ mitigation case.             The

Defendants said they were unprepared to present their case at

that time and requested several months in which to become more

familiar with the case and the evidence.          The Court agreed to

continue the matter for 120 days, with instructions to the

parties to work diligently in the meantime and to be prepared to

discuss a trial date and related deadlines at the next hearing.

     Following a status conference on September 10, 2008, the

Court issued a Scheduling Order (Doc. No. 98) setting a trial

date of March 1, 2010.      The deadline for the government’s

determination whether to seek the death penalty is May 26, 2009.

Given that setting, the Defendants hope to delay the mitigation

presentations to the local U.S. Attorney and the Department of

Justice’s Capital Crimes Unit for as long as possible, and have

asked the government for hearings in February and March of 2009.

The government has refused those requests, notifying the

Defendants that the local hearing will occur October 31, 2008,

with the Capital Crimes Unit hearing to follow on November 10,

2008.

     Defendant Weber has filed a motion to amend the Scheduling


                                     -2-
       Case
     Case    1:13-cr-10200-GAO Document
          9:06-cr-00062-DWM     Document123
                                         107-1 Filed
                                                Filed10/21/2008
                                                      09/27/13 Page 4 of3 11
                                                                 Page     of 10



Order to impose the Defendants’ preferred dates for the

mitigation hearings.        The government opposes the motion.

                                 II.    Analysis

A.     The Authorization Process

       Although the Defendants have been charged with death-

eligible offenses, death is not a potential punishment unless the

government files a Notice of Intent to Seek a Sentence of Death

(“Notice of Intent”), as required by 18 U.S.C. § 3593(a) and 21

U.S.C. § 848(h)(1).        The Department of Justice prohibits the

filing of such a notice without the prior written authorization

of the Attorney General of the United States.

       In January 1995, the Department of Justice adopted a formal

procedure for local U.S. Attorneys to follow in federal cases

charging capital crimes.         U.S. Dep’t of Justice, Protocol for

Federal Prosecutions in Which the Death Penalty May Be Sought,

United States Attorneys’ Manual, tit. 9–10.000.               All cases

charging capital crimes must undergo the protocol’s review

process regardless of whether the local U.S. Attorney wishes to

seek the death penalty.         The process begins at the local level

where the U.S. Attorney’s office prepares a Death Penalty

Evaluation Form and prosecution memorandum.              In these documents,

the U.S. Attorney sets forth information on the theory of

prosecution, the facts and evidence, the defendant’s background

and criminal history, the aggravating and mitigating factors


                                        -3-
    Case
  Case    1:13-cr-10200-GAO Document
       9:06-cr-00062-DWM     Document123
                                      107-1 Filed
                                             Filed10/21/2008
                                                   09/27/13 Page 5 of4 11
                                                              Page     of 10



associated with the crime and the defendant, the basis for

federal prosecution as opposed to state prosecution, views of the

victim’s family regarding the death penalty, and the

recommendation of the U.S. Attorney regarding whether the

government should seek the death penalty.           United States

Attorneys’ Manual, tit. 9–10.080.          Prior to preparing these

documents, the U.S. Attorney must offer the defendant an

opportunity to submit any facts or mitigating factors for the

government’s consideration in deciding whether to seek the death

penalty.   The U.S. Attorney’s office then submits the Death

Penalty Evaluation Form, the prosecution memorandum, and the

materials provided by the defendant to the Capital Crimes Unit.

      At the second level of the review process, the local U.S.

Attorney and defense counsel present their views and arguments

regarding death authorization to the Capital Crimes Unit in

Washington, D.C.    United States Attorneys’ Manual, tit. 9–10.120.

The Capital Crimes Unit then makes a recommendation to the

Attorney General and the Attorney General signs a letter

addressed to the local U.S. Attorney directing whether to seek

the death penalty.     See United States Attorneys’ Manual, tit.

9–10.130 (describing standards used to assess whether to seek the

death penalty).    This second level of review takes approximately

ninety days.    United States Attorneys’ Manual, tit. 9–10.080.

     If the Attorney General directs the U.S. Attorney to seek


                                     -4-
       Case
     Case    1:13-cr-10200-GAO Document
          9:06-cr-00062-DWM     Document123
                                         107-1 Filed
                                                Filed10/21/2008
                                                      09/27/13 Page 6 of5 11
                                                                 Page     of 10



the death penalty, the U.S. Attorney must file a Notice of

Intent, setting forth the statutory and non-statutory aggravating

factors the government intends to prove at the penalty phase.                     21

U.S.C. § 848(h)(1); 18 U.S.C. § 3593(a).             The government may only

rely on aggravating factors identified in the Notice of Intent in

seeking a sentence of death.          21 U.S.C. § 848(j); 18 U.S.C.

3593(c).      The court may permit the government to amend its Notice

of Intent for good cause.          21 U.S.C. § 848(h)(2); 18 U.S.C. §

3593(a).

B.     Discussion

       There is limited guidance on the question of the trial

court’s authority to set a date for the presentation of

mitigating evidence to the local U.S. Attorney and the Capital

Crimes Unit.1      From the perspective of the Judicial Conference of

the United States, however, there is no doubt that such authority

exists.     The Guidelines for the Administration of the Criminal

Justice Act, promulgated by the Judicial Conference, contain

several provisions specific to compensation of counsel in capital

cases.     Section 6.04 of the Guidelines directs the trial court to

“establish a schedule for the resolution of whether the

       1
      Defendant Weber argues this Court has the authority to intervene
to protect his rights to: (1) fundamental fairness under the due
process clause of the Fifth Amendment; (2) effective assistance of
counsel as required by the Sixth Amendment; and (3) protection against
cruel and unusual punishment under the Eighth Amendment. None of
these arguments are supported by persuasive authority showing a basis
upon which this Court may order the prosecution to delay its
mitigation hearings.

                                        -5-
    Case
  Case    1:13-cr-10200-GAO Document
       9:06-cr-00062-DWM     Document123
                                      107-1 Filed
                                             Filed10/21/2008
                                                   09/27/13 Page 7 of6 11
                                                              Page     of 10



Government will seek the death penalty.”          Section 6.04 instructs

the court to set a dates for:

     (1) the submission by the defendant to the United
     States Attorney of any reasons why the Government
     should not seek the death penalty;

     (2) the submission by the United States Attorney to the
     appropriate officials of the Department of Justice of a
     recommendation and any supporting documentation
     concerning whether the death penalty should be sought;

     (3) filing of a notice under 18 U.S.C. § 3593(a) that
     the Government will seek the death penalty, or
     notification to the court and the defendant that it
     will not.

Guide to Judiciary Policies and Procedures, Vol. VII, Ch. 6.04.

     It is clear from Paragraph (1) of Section 6.04 that the

Judicial Conference considers it appropriate for the trial court

to intervene with regard to the timing of the mitigation

presentation.    There does not appear to be any case law or

statute expounding upon or reinforcing the scheduling power that

is assumed under Section 6.04, but the government has failed to

cite any authority supporting its argument that the trial court

is prohibited from intervening in the scheduling of the

mitigation presentation.

     As recently restated by the Ninth Circuit in United States

v. Grace, 526 F.3d 499 (9th Cir. 2008), a trial court is vested

with the broad authority to set rules and deadlines in order to

achieve the efficient and just resolution of matters before the

court.   It is universally accepted that a district court has the


                                     -6-
    Case
  Case    1:13-cr-10200-GAO Document
       9:06-cr-00062-DWM     Document123
                                      107-1 Filed
                                             Filed10/21/2008
                                                   09/27/13 Page 8 of7 11
                                                              Page     of 10



power to enter pretrial case management and discovery orders

“designed to ensure that the relevant issues to be tried are

identified, that the parties have an opportunity to engage in

appropriate discovery and that the parties are adequately and

timely prepared at the trial can proceed efficiently and

intelligibly.”    Grace, 526 F.3d at 508-09.         The Grace court

quoted with approval the circuit’s opinion in United States v.

Richter, in which the court wrote, “It is recognized that wide

latitude is reposed in the district court to carry out

successfully its mandate to effectuate, as far as possible, the

speedy and orderly administration of justice. . . .             It would be

ill-advised to limit improvidently this inherent power for fear

of misuse.”   Grace, 526 F.3d at 512 (quoting Richter, 488 F.2d

170, 173-74 (9th Cir. 1973)).

     Considered together, and in the absence of any contrary

authority, Section 6.04 and this Court’s inherent power to

effectuate a speedy and just result furnish a sound basis to

conclude the Court has the authority to set a date for each stage

of the mitigation presentation.        The government makes only

cursory arguments on these points, contending that Grace should

be limited to the discovery context and that Section 6.04 is “a

guideline for a court’s scheduling order, not a basis to

intervene in an internal proceeding of the executive branch.”

Doc. No. 114 p. 3 n.2.      Neither argument is persuasive.


                                     -7-
    Case
  Case    1:13-cr-10200-GAO Document
       9:06-cr-00062-DWM     Document123
                                      107-1 Filed
                                             Filed10/21/2008
                                                   09/27/13 Page 9 of8 11
                                                              Page     of 10



     Although the dispute in Grace related to discovery, the

general propositions regarding the trial court’s inherent

authority extend beyond the narrow facts of the appeal, and are

applicable here.    Section 6.04, while merely a guideline and not

a rule, supplies evidence that the Judicial Conference does not

view it as beyond the trial court’s power to set a date for the

mitigation presentation.      The government’s contention that the

setting of the date is “an internal proceeding of the executive

branch” overstates the case.       There is no question that the

decision whether to seek the death penalty is an internal one,

and committed solely to the Department of Justice.             However, the

decision when to schedule the mitigation presentation impacts the

Defendants and their counsel and is intertwined with the

progression of this matter in accordance with the Court’s written

Scheduling Order.     The situation is similar to that of the plea

agreement: the trial court has no control over the internal

decision of whether government will choose to enter into a plea

agreement, but it may set a deadline for any such plea agreement

to be entered into by the parties.

     The Court has the authority to grant the relief Defendant

Weber seeks; the question remains whether such relief is

warranted.   Defendant Weber asserts that the Defendants have not

had sufficient time to prepare a proper mitigation case, and that

the prosecution risks making an ill-informed decision regarding


                                     -8-
   Case
  Case   1:13-cr-10200-GAO Document
       9:06-cr-00062-DWM   Document 123
                                    107-1 Filed
                                          Filed 10/21/2008
                                                09/27/13 Page 10 of
                                                            Page    1110
                                                                 9 of



whether to seek the death penalty.       Although the bulk of

discovery has been provided to the Defendants, the discovery

deadline under the Court’s Scheduling Order is not until November

3, 2008.    Doc. No. 98.   It is therefore conceivable that the

government could withhold discoverable information until after

the presentation to the local U.S. Attorney, now set for October

31, 2008.    Even discovery supplied in advance the date of the

local presentation will be of little use to the defense without

considerable time to assimilate the information.         The absence of

a reasonable interval between the discovery deadline and the

dates for presentation of the mitigation case offers the most

compelling reason for this Court to consider setting a later

date.

     Another consideration weighing in favor of Court

intervention is the fact that the government will not be

prejudiced by the delay.     Despite the government’s reference in

its Response Brief to a looming deadline, in fact the deadline

for the government’s Notice of Intent is seven months away.           If

the authorization protocol takes ninety days as contemplated by

the United States Attorneys’ Manual, the presentation to the

Capital Crimes Unit can be delayed four months without affecting

the timely consideration of the matter by the Department of

Justice.    In order to avoid any risk that the Defendants will be

put at a disadvantage, and because the government will not suffer


                                   -9-
    Case
  Case    1:13-cr-10200-GAO Document
       9:06-cr-00062-DWM     Document123
                                      107-1 Filed
                                             Filed10/21/2008
                                                   09/27/13 Page 11 10
                                                              Page  of 11
                                                                       of 10



prejudice, the Court will grant Defendant Weber’s motion and set

a date for the mitigation presentation to the local U.S.

Attorney.

                                III.   Order

      Based on the foregoing, IT IS HEREBY ORDERED that Defendant

Weber’s motion to amend the Scheduling Order (Doc. No. 109) is

GRANTED, and the Scheduling Order dated September 11, 2008 is

amended as follows:

(1)   The Defendants’ presentation of their mitigation case to

      the local U.S. Attorney shall take place on February 4,

      2009, at a location to be decided by the government.

(2)   The government may set the date for the parties’

      presentation to the Capital Crimes Unit, provided that under

      no circumstances shall the presentation occur before

      February 4, 2009.

      DATED this 21st day of October, 2008.




                                    -10-
